Case 23-10831-MFW   Doc 936-2   Filed 01/30/24   Page 1 of 5




                       Exhibit 1
     Case 23-10831-MFW                Doc 936-2      Filed 01/30/24   Page 2 of 5


                             HURON CONSULTING SERVICES, LLC
                                        EXHIBIT 1.A
                       SUMMARY OF HOURS AND FEES BY PROFESSIONAL
                     FROM DECEMBER 1, 2023, THROUGH DECEMBER 31, 2023



     Professional                    Title           Standard Rates   Hours       Standard Fees
Laura Marcero            Managing Director           $       1,100         15.1   $     16,610.00
Timothy Martin           Managing Director           $       1,100          8.7   $      9,570.00
Robert Loh               Senior Director             $         950         60.0   $     57,000.00
Paul Trenti              Director                    $         700          2.9   $      2,030.00
Holger Ericsson          Manager                     $         600         12.9   $      7,740.00
Kirstyn McGuinness       Manager                     $         600         24.5   $     14,700.00
Rommel Hernandez         Analyst                     $         325          5.4   $      1,755.00
                                                                          129.5   $    109,405.00
             Total Hours and Fees for Professionals


                                                                                  $    109,405.00
                     Total Fees for Professionals
                         Less: 20% Holdback                                       $    (21,881.00)
                                                                                   $     87,524.00
                      Total Fees for Professionals
               Case 23-10831-MFW               Doc 936-2      Filed 01/30/24   Page 3 of 5



                                        HURON CONSULTING SERVICES, LLC
                                                 EXHIBIT 1.B

                               SUMMARY OF HOURS AND FEES BY MATTER CODE
                             FROM DECEMBER 1, 2023, THROUGH DECEMBER 31, 2023

Matter Code                             Matter Category                         Hours               Fees
      2       Claim Analysis                                                            49.0   $    39,770.00
      3       Asset Analysis and Recovery                                               14.7        13,705.00
      4       Contract Rejection Analyses                                                7.7         7,525.00
      5       Cash Flow Analysis/Reporting                                              34.4        26,652.50
      6       Meetings and Communications                                                4.9         3,552.50
      7       Disclosure Statement / Plan of Reorganization                             14.9        14,285.00
     12       Retention and Fee Applications                                             3.9         3,915.00

                           Total Hours and Fees by Matter Category                   129.5         $109,405.00

                                                                       Average Billing Rate           $844.83
                                Case 23-10831-MFW                                    Doc 936-2                     Filed 01/30/24                          Page 4 of 5


Exhibit 1.C - Time Details
Financial Advisors to the Official Committee of Unsecured Creditors

    Task
    Code    Task Code Description          Professional            Date     Description                                                                                 Hours         Rate          Amount
     2      Claim Analysis                 Kirstyn McGuinness    12/01/23   Participate in meeting with counsel (F. Lawall, D. Kovsky-Apap) and Huron regarding             0.5   $    600.00   $        300.00
                                                                            GUC reserve.
      2     Claim Analysis                 Kirstyn McGuinness    12/01/23   Review and update claims analysis for claims register as of 12/1/23.                            1.6   $ 600.00      $        960.00
      2     Claim Analysis                 Laura Marcero         12/01/23   Participate in meeting with counsel (F. Lawall, D. Kovsky-Apap) and Huron regarding             0.5   $ 1,100.00    $        550.00
                                                                            GUC reserve.
      2     Claim Analysis                 Paul Trenti           12/01/23   Participate in meeting with counsel (F. Lawall, D. Kovsky-Apap) and Huron regarding             0.5   $    700.00   $        350.00
                                                                            GUC reserve.
      2     Claim Analysis                 Robert Loh            12/01/23   Participate in meeting with counsel (F. Lawall, D. Kovsky-Apap) and Huron regarding             0.5   $    950.00   $        475.00
                                                                            GUC reserve.
      2     Claim Analysis                 Robert Loh            12/01/23   Outline additional edits to unsecured claims analysis based on discussion with counsel.         0.8   $    950.00   $        760.00

      2     Claim Analysis                 Timothy Martin        12/01/23   Review of claims register in preparation for call with counsel regarding same.                  0.7   $ 1,100.00    $        770.00
      2     Claim Analysis                 Timothy Martin        12/01/23   Participate in call with counsel regarding claims reconciliation and discussions with the       0.5   $ 1,100.00    $        550.00
                                                                            Debtors regarding same.
      2     Claim Analysis                 Robert Loh            12/02/23   Participate in call with Debtors regarding review of claims.                                    0.4   $ 950.00      $         380.00
      2     Claim Analysis                 Robert Loh            12/02/23   Prepare summary of call with Debtors to review various claims.                                  1.3   $ 950.00      $       1,235.00
      2     Claim Analysis                 Timothy Martin        12/02/23   Participate in call with Debtors regarding review of claims.                                    0.4   $ 1,100.00    $         440.00
      2     Claim Analysis                 Timothy Martin        12/02/23   Review and edit summary of claims prepared for counsel.                                         0.8   $ 1,100.00    $         880.00
      2     Claim Analysis                 Kirstyn McGuinness    12/03/23   Review new and amended claims filed post-bar date through 12/1/23.                              1.3   $ 600.00      $         780.00
      2     Claim Analysis                 Kirstyn McGuinness    12/04/23   Analyze changes to current claims vs. claims as of 10/10/23 for amendments and other            1.2   $ 600.00      $         720.00
                                                                            changes.
      2     Claim Analysis                 Kirstyn McGuinness    12/04/23   Analyze claims debtor has outstanding/unresolved objections.                                    1.4   $ 600.00      $         840.00
      2     Claim Analysis                 Kirstyn McGuinness    12/04/23   Update GUC claims analysis for debtor objections to claims.                                     1.6   $ 600.00      $         960.00
      2     Claim Analysis                 Kirstyn McGuinness    12/04/23   Update GUC analysis for settlement of employment agreement related claims.                      0.6   $ 600.00      $         360.00
      2     Claim Analysis                 Robert Loh            12/04/23   Review updates to the analysis of filed PoCs.                                                   2.3   $ 950.00      $       2,185.00
      2     Claim Analysis                 Timothy Martin        12/04/23   Review and comment on update of Debtors' position on claim reserves.                            1.1   $ 1,100.00    $       1,210.00
      2     Claim Analysis                 Kirstyn McGuinness    12/05/23   Working session with R. Loh to review updated analysis of general unsecured claims              0.6   $ 600.00      $         360.00
                                                                            filed through 12/01/23 and other docket filings.
      2     Claim Analysis                 Kirstyn McGuinness    12/05/23   Review order sustaining objections by debtor of select claims.                                  0.4   $    600.00   $         240.00
      2     Claim Analysis                 Kirstyn McGuinness    12/05/23   Review unliquidated GUC claims, including executive and board member claims.                    1.8   $    600.00   $       1,080.00
      2     Claim Analysis                 Kirstyn McGuinness    12/05/23   Update claims analysis for additional identified duplicative claims, unliquidated claims,       2.4   $    600.00   $       1,440.00
                                                                            and post-bar date claims.
      2     Claim Analysis                 Robert Loh            12/05/23   Correspondence with Debtors regarding claims dropped from objection motion.                     0.4   $    950.00   $        380.00
      2     Claim Analysis                 Robert Loh            12/05/23   Working session with K. McGuinness to review updated analysis of general unsecured              0.6   $    950.00   $        570.00
                                                                            claims filed through 12/01/23 and other docket filings.
      2     Claim Analysis                 Robert Loh            12/05/23   Prepare reconciliation between the Debtors' initial claims rejection motion and order.          0.9   $    950.00   $         855.00
      2     Claim Analysis                 Robert Loh            12/05/23   Continued review of filed POCs in support of claims analyses and potential plan                 2.4   $    950.00   $       2,280.00
                                                                            objection exhibits.
      2     Claim Analysis                 Timothy Martin        12/05/23   Review of proof of claims related to unliquidated claims.                                       0.7   $ 1,100.00    $        770.00
      2     Claim Analysis                 Kirstyn McGuinness    12/06/23   Participate in call with counsel F. Lawall, D. Kovsky-Apap and R. Loh, L. Marcero               0.2   $ 600.00      $        120.00
                                                                            (Huron) regarding deadline update, GUC status and considerations.
      2     Claim Analysis                 Kirstyn McGuinness    12/06/23   Revise GUCs for employment settlements and retention of other types of claims.                  0.7   $    600.00   $        420.00
      2     Claim Analysis                 Kirstyn McGuinness    12/06/23   Review amended filed claims.                                                                    1.3   $    600.00   $        780.00
      2     Claim Analysis                 Kirstyn McGuinness    12/06/23   Update claims analysis for amended claims.                                                      1.1   $    600.00   $        660.00
      2     Claim Analysis                 Kirstyn McGuinness    12/06/23   Review docket for additional filed proceedings impacting claims.                                0.4   $    600.00   $        240.00
      2     Claim Analysis                 Kirstyn McGuinness    12/06/23   Review additional unliquidated claims related to litigation and indemnification.                1.2   $    600.00   $        720.00
      2     Claim Analysis                 Kirstyn McGuinness    12/06/23   Update claim summaries for reassigned claim categories to reflect debtor rejected               0.9   $    600.00   $        540.00
                                                                            claims.
      2     Claim Analysis                 Laura Marcero         12/06/23   Review updated analysis of unsecured claims.                                                    0.8   $ 1,100.00    $        880.00
      2     Claim Analysis                 Laura Marcero         12/06/23   Participate in call with counsel F. Lawall, D. Kovsky-Apap (Troutman) and R. Loh, K.            0.2   $ 1,100.00    $        220.00
                                                                            McGuinness (Huron) regarding deadline update, GUC status and considerations.
      2     Claim Analysis                 Robert Loh            12/06/23   Participate in call with counsel F. Lawall, D. Kovsky-Apap (Troutman) and L. Marcero,           0.2   $    950.00   $        190.00
                                                                            K. McGuinness (Huron) regarding deadline update, GUC status and considerations.

      2     Claim Analysis                 Robert Loh            12/06/23   Prepare for call with counsel to discuss GUC status and negotiations with Debtors.              0.9   $ 950.00      $         855.00
      2     Claim Analysis                 Timothy Martin        12/11/23   Prepare for call with counsel regarding claim estimates.                                        0.1   $ 1,100.00    $         110.00
      2     Claim Analysis                 Timothy Martin        12/11/23   Review and comment on draft claims matrix.                                                      1.4   $ 1,100.00    $       1,540.00
      2     Claim Analysis                 Kirstyn McGuinness    12/12/23   Review debtor assumed and rejected contracts motions.                                           1.1   $ 600.00      $         660.00
      2     Claim Analysis                 Kirstyn McGuinness    12/12/23   Review buyer assumed contracts/leases included in sales agreement.                              0.2   $ 600.00      $         120.00
      2     Claim Analysis                 Kirstyn McGuinness    12/12/23   Compare debtors' assumed and rejected contracts to previously filed list of executory           1.6   $ 600.00      $         960.00
                                                                            contracts and leases (Schedule G).
      2     Claim Analysis                 Robert Loh            12/12/23   Review of previous analyses related to SEC/Shareholder litigation and potential                 1.7   $    950.00   $       1,615.00
                                                                            indemnification claims.
      2     Claim Analysis                 Robert Loh            12/12/23   Revise analysis of assumed or rejected contracts.                                               1.3   $    950.00   $       1,235.00
      2     Claim Analysis                 Robert Loh            12/14/23   Review recently filed claims by Ohio Department of Taxation, Applied Medical                    2.3   $    950.00   $       2,185.00
                                                                            Resources Corp, and others.
      2     Claim Analysis                 Robert Loh            12/14/23   Email correspondence with counsel regarding updates to the Debtors' assumed                     0.3   $    950.00   $        285.00
                                                                            contracts schedule.
      2     Claim Analysis                 Robert Loh            12/31/23   Telephone calls with Counsel regarding the Debtors' estimate of various pre-petition            0.6   $    950.00   $        570.00
                                                                            liabilities and post-effective date expenses.
      2     Claim Analysis                 Robert Loh            12/31/23   Revise analysis of estimate waterfall and claims reserve based on discussions with              2.3   $    950.00   $       2,185.00
                                                                            counsel.
      3     Asset Analysis and Recovery    Holger Ericsson       12/01/23   Research and validate estimates in debtor waterfall.                                            0.7   $ 600.00      $         420.00
      3     Asset Analysis and Recovery    Laura Marcero         12/01/23   Continued review of the updated waterfall comparison following discussion with UCC              1.1   $ 1,100.00    $       1,210.00
                                                                            counsel.
      3     Asset Analysis and Recovery    Robert Loh            12/01/23   Correspondence with Counsel regarding the Debtors' revised waterfall analysis.                  0.8   $    950.00   $         760.00
      3     Asset Analysis and Recovery    Robert Loh            12/01/23   Prepare outline of follow up areas related to the Debtors' revised waterfall analysis.          1.6   $    950.00   $       1,520.00
      3     Asset Analysis and Recovery    Robert Loh            12/01/23   Update the comparative analysis of the Debtors' estimated waterfall to UCC analysis             1.6   $    950.00   $       1,520.00
                                                                            based on additional information received from the Debtors.
      3     Asset Analysis and Recovery    Robert Loh            12/01/23   Continue to review the Debtors' revised waterfall analysis as of 11/30/23.                      1.8   $ 950.00      $       1,710.00
      3     Asset Analysis and Recovery    Robert Loh            12/01/23   Preliminary review of the Debtors' revised waterfall analysis as of 11/30/23.                   2.4   $ 950.00      $       2,280.00
      3     Asset Analysis and Recovery    Timothy Martin        12/05/23   Review and comment on update regarding revised claim waterfall.                                 0.5   $ 1,100.00    $         550.00
      3     Asset Analysis and Recovery    Laura Marcero         12/06/23   Prepare for call with counsel regarding unsecured claims and post-effective date                1.1   $ 1,100.00    $       1,210.00
                                                                            expenses.
      3     Asset Analysis and Recovery    Holger Ericsson       12/07/23   Research and validate estimates in debtor waterfall.                                            0.9   $    600.00   $        540.00
      3     Asset Analysis and Recovery    Kirstyn McGuinness    12/12/23   Working session with R. Loh to review updates from counsel and review of contract               0.3   $    600.00   $        180.00
                                                                            analyses.
      3     Asset Analysis and Recovery    Robert Loh            12/12/23   Working session with K. McGuinness to review updates from counsel and review of                 0.3   $    950.00   $        285.00
                                                                            contract analyses.
      3     Asset Analysis and Recovery    Robert Loh            12/15/23   Revise estimated liquidation analysis based on additional filed claims (not barred by           1.6   $    950.00   $       1,520.00
                                                                            filing date) and additional information received from the Debtors to date.
      4     Contract Rejection Analyses    Robert Loh            12/05/23   Telephone call with D. Tsitis regarding contract analysis.                                      0.3   $    950.00   $         285.00
      4     Contract Rejection Analyses    Robert Loh            12/07/23   Additional analysis of potential rejection damages claims.                                      1.1   $    950.00   $       1,045.00
      4     Contract Rejection Analyses    Robert Loh            12/12/23   Telephone call with D. Tsitis, A. Kroll, and A. Crnkovich regarding contract rejection          0.4   $    950.00   $         380.00
                                                                            damages.
      4     Contract Rejection Analyses    Robert Loh            12/12/23   Prepare for discussion with Debtor regarding rejection damages.                                 0.9   $ 950.00      $         855.00
      4     Contract Rejection Analyses    Robert Loh            12/12/23   Update analysis of potential rejection damages based on discussion with Debtors.                1.3   $ 950.00      $       1,235.00
      4     Contract Rejection Analyses    Laura Marcero         12/13/23   Review contract rejection analysis.                                                             1.4   $ 1,100.00    $       1,540.00
      4     Contract Rejection Analyses    Robert Loh            12/14/23   Prepare overview of contract assumption/rejection issues for discussion with UCC                1.9   $ 950.00      $       1,805.00
                                                                            counsel.
      4     Contract Rejection Analyses    Robert Loh            12/14/23   Review updated contract assumption schedule as provided by the Debtors.                         0.4   $    950.00   $        380.00
                                Case 23-10831-MFW                                     Doc 936-2                      Filed 01/30/24                          Page 5 of 5


Exhibit 1.C - Time Details
Financial Advisors to the Official Committee of Unsecured Creditors

    Task
    Code    Task Code Description            Professional           Date     Description                                                                                  Hours       Rate          Amount
     5      Cash Flow Analysis/Reporting     Laura Marcero        12/02/23   Meeting with R. Loh to review recent financial results and analysis of unsecured claims.        0.7   $ 1,100.00   $        770.00

      5     Cash Flow Analysis/Reporting     Robert Loh           12/02/23   Meeting with L. Marcero to review recent financial results and analysis of unsecured            0.7   $   950.00   $        665.00
                                                                             claims.
      5     Cash Flow Analysis/Reporting     Holger Ericsson      12/06/23   Revise updated 13 week cashflow analysis for the week ended 12/02.                              1.6   $   600.00   $         960.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson      12/06/23   Prepare UCC update materials covering the week ended 12/02.                                     1.9   $   600.00   $       1,140.00
      5     Cash Flow Analysis/Reporting     Paul Trenti          12/06/23   Analyze cash flow forecast for week ended 12/2 and provide edits to cash flow update            1.1   $   700.00   $         770.00
                                                                             slides.
      5     Cash Flow Analysis/Reporting     Robert Loh           12/06/23   Review and comment on UCC update materials for the week ended 12/02/23.                         0.7   $   950.00   $        665.00
      5     Cash Flow Analysis/Reporting     Rommel Hernandez     12/06/23   Update the Debtors' weekly cash flow projections based on updates included in weekly            0.7   $   325.00   $        227.50
                                                                             reporting package through 12/02.
      5     Cash Flow Analysis/Reporting     Rommel Hernandez     12/06/23   Update analysis of actual vs. budgeted cash flow results for the week ended 12/02 and           0.8   $   325.00   $        260.00
                                                                             cumulatively since 07/29 forecast.
      5     Cash Flow Analysis/Reporting     Laura Marcero        12/07/23   Prepare for weekly UCC update meeting.                                                          1.4   $ 1,100.00   $       1,540.00
      5     Cash Flow Analysis/Reporting     Robert Loh           12/07/23   Revise cashflow presentation for the week ended 12/02/23.                                       0.9   $ 950.00     $         855.00
      5     Cash Flow Analysis/Reporting     Robert Loh           12/07/23   Prepare for UCC presentation regarding cash flow results for the week ended 12/02/23.           1.4   $ 950.00     $       1,330.00

      5     Cash Flow Analysis/Reporting     Holger Ericsson      12/13/23   Revise updated 13 week cashflow analysis for the week ended 12/09.                              2.0   $ 600.00     $       1,200.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson      12/13/23   Prepare UCC update materials covering the week ended 12/09.                                     1.5   $ 600.00     $         900.00
      5     Cash Flow Analysis/Reporting     Laura Marcero        12/13/23   Review UCC update materials.                                                                    0.9   $ 1,100.00   $         990.00
      5     Cash Flow Analysis/Reporting     Paul Trenti          12/13/23   Revise UCC update materials for the week ended 12/09/23.                                        0.9   $ 700.00     $         630.00
      5     Cash Flow Analysis/Reporting     Robert Loh           12/13/23   Revise UCC update materials and prepare summary of key issues for UCC discussion.               1.8   $ 950.00     $       1,710.00

      5     Cash Flow Analysis/Reporting     Rommel Hernandez     12/13/23   Update the Debtors' weekly cash flow projections based on updates included in weekly            0.4   $   325.00   $        130.00
                                                                             reporting package through 12/09.
      5     Cash Flow Analysis/Reporting     Rommel Hernandez     12/13/23   Update analysis of actual vs. budgeted cash flow results for the week ended 12/09 and           0.6   $   325.00   $        195.00
                                                                             cumulatively since 07/29 forecast.
      5     Cash Flow Analysis/Reporting     Timothy Martin       12/13/23   Review and comment on Debtors' most recent cash forecast.                                       0.4   $ 1,100.00   $         440.00
      5     Cash Flow Analysis/Reporting     Timothy Martin       12/14/23   Review of status update to committee members.                                                   0.1   $ 1,100.00   $         110.00
      5     Cash Flow Analysis/Reporting     Timothy Martin       12/15/23   Review of Debtors' updated estimates reserve estimates.                                         0.3   $ 1,100.00   $         330.00
      5     Cash Flow Analysis/Reporting     Laura Marcero        12/19/23   Meeting with R. Loh to review cash flow results, claims analyses, and potential plan            1.3   $ 1,100.00   $       1,430.00
                                                                             objection issues.
      5     Cash Flow Analysis/Reporting     Robert Loh           12/19/23   Meeting with L. Marcero to review cash flow results, claims analyses, and potential plan        1.3   $   950.00   $       1,235.00
                                                                             objection issues.
      5     Cash Flow Analysis/Reporting     Holger Ericsson      12/20/23   Revise updated 13 week cashflow analysis for the week ended 12/16.                              1.5   $   600.00   $         900.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson      12/20/23   Prepare UCC update materials covering the week ended 12/16.                                     1.7   $   600.00   $       1,020.00
      5     Cash Flow Analysis/Reporting     Robert Loh           12/20/23   Prepare for UCC presentation regarding cash flow results for the week ended 12/16.              0.8   $   950.00   $         760.00
      5     Cash Flow Analysis/Reporting     Robert Loh           12/20/23   Review updated cash flow presentation for the week ended 12/16.                                 0.9   $   950.00   $         855.00
      5     Cash Flow Analysis/Reporting     Rommel Hernandez     12/20/23   Update the Debtors' weekly cash flow projections based on updates included in weekly            0.5   $   325.00   $         162.50
                                                                             reporting package through 12/16.
      5     Cash Flow Analysis/Reporting     Rommel Hernandez     12/20/23   Update analysis of actual vs. budgeted cash flow results for the week ended 12/16 and           0.5   $   325.00   $        162.50
                                                                             cumulatively since 07/29 forecast.
      5     Cash Flow Analysis/Reporting     Holger Ericsson      12/21/23   Meeting with R. Loh to review cash flow presentation.                                           0.3   $ 600.00     $         180.00
      5     Cash Flow Analysis/Reporting     Laura Marcero        12/21/23   Review updated cash flow presentation.                                                          0.9   $ 1,100.00   $         990.00
      5     Cash Flow Analysis/Reporting     Laura Marcero        12/21/23   Outline additional talking points for UCC presentation.                                         0.4   $ 1,100.00   $         440.00
      5     Cash Flow Analysis/Reporting     Robert Loh           12/21/23   Meeting with H. Ericsson to review cash flow presentation.                                      0.3   $ 950.00     $         285.00
      5     Cash Flow Analysis/Reporting     Robert Loh           12/21/23   Revise updated cash flow presentation and talking points for UCC presentation.                  1.4   $ 950.00     $       1,330.00
      5     Cash Flow Analysis/Reporting     Robert Loh           12/28/23   Review updated analysis of cash flow results through 12/23/23.                                  0.8   $ 950.00     $         760.00
      5     Cash Flow Analysis/Reporting     Rommel Hernandez     12/28/23   Update the Debtors' weekly cash flow projections based on updates included in weekly            0.5   $ 325.00     $         162.50
                                                                             reporting package through 12/23.
      5     Cash Flow Analysis/Reporting     Rommel Hernandez     12/28/23   Update analysis of actual vs. budgeted cash flow results for the week ended 12/23 and           0.5   $   325.00   $        162.50
                                                                             cumulatively since 07/29 forecast.
      6     Meetings and Communications      Holger Ericsson      12/07/23   Participate in weekly UCC update meeting covering post-petition cash flow, GUC                  0.8   $   600.00   $        480.00
                                                                             reserve negotiations, etc.
      6     Meetings and Communications      Kirstyn McGuinness   12/07/23   Participate in UCC weekly meeting to provide update regarding GUC claim reserve and             0.8   $   600.00   $        480.00
                                                                             discussion with debtor advisors, among other topics.
      6     Meetings and Communications      Laura Marcero        12/07/23   Participate in weekly UCC update meeting covering post-petition cash flow, GUC                  0.8   $ 1,100.00   $        880.00
                                                                             reserve negotiations, etc.
      6     Meetings and Communications      Paul Trenti          12/07/23   Prepare for and attend call to update UCC on post-emergence budget, settlement                  0.4   $   700.00   $        280.00
                                                                             amounts, unsecured claims (partial attendance).
      6     Meetings and Communications      Robert Loh           12/07/23   Participate in weekly UCC update meeting covering post-petition cash flow, GUC                  0.8   $   950.00   $        760.00
                                                                             reserve negotiations, etc.
      6     Meetings and Communications      Rommel Hernandez     12/07/23   Participate (partial) in weekly UCC update meeting covering post-petition cash flow,            0.5   $   325.00   $        162.50
                                                                             GUC reserve negotiations, etc.
      6     Meetings and Communications      Robert Loh           12/21/23   Meeting with Counsel and Huron re: UCC update.                                                  0.4   $   950.00   $        380.00

      6     Meetings and Communications      Rommel Hernandez     12/21/23   Meeting with Counsel and Huron re: UCC update.                                                  0.4   $   325.00   $        130.00

      7     Disclosure Statement / Plan of   Robert Loh           12/04/23   Preparation of supporting exhibit for potential plan objection.                                 2.4   $   950.00   $       2,280.00
            Reorganization
      7     Disclosure Statement / Plan of   Kirstyn McGuinness   12/11/23   Perform QC review of draft support exhibits for declaration.                                    0.5   $   600.00   $        300.00
            Reorganization
      7     Disclosure Statement / Plan of   Kirstyn McGuinness   12/11/23   Participate in call with counsel F. Lawall, D. Kovsky-Apap and R. Loh, T. Martin                0.8   $   600.00   $        480.00
            Reorganization                                                   regarding draft objection and declaration prep.
      7     Disclosure Statement / Plan of   Laura Marcero        12/11/23   Review draft plan objection.                                                                    0.8   $ 1,100.00   $        880.00
            Reorganization
      7     Disclosure Statement / Plan of   Laura Marcero        12/11/23   Meeting with R. Loh to review draft plan objection, supporting analyses, and relevant           1.4   $ 1,100.00   $       1,540.00
            Reorganization                                                   court filings.
      7     Disclosure Statement / Plan of   Robert Loh           12/11/23   Participate in call with counsel F. Lawall, D. Kovsky-Apap (Troutman) and T. Martin, K.         0.8   $   950.00   $        760.00
            Reorganization                                                   McGuinness (Huron) regarding draft objection and declaration prep.
      7     Disclosure Statement / Plan of   Robert Loh           12/11/23   Meeting with L. Marcero to review draft plan objection, supporting analyses, and                1.4   $   950.00   $       1,330.00
            Reorganization                                                   relevant court filings.
      7     Disclosure Statement / Plan of   Robert Loh           12/11/23   Continue to review draft plan objection and compare to analyses of pre-petition                 1.8   $   950.00   $       1,710.00
            Reorganization                                                   liabilities, proofs of claim, etc.
      7     Disclosure Statement / Plan of   Robert Loh           12/11/23   Review draft plan objection and compare to analyses of pre-petition liabilities, proofs of      2.4   $   950.00   $       2,280.00
            Reorganization                                                   claim, etc.
      7     Disclosure Statement / Plan of   Timothy Martin       12/11/23   Participate in call with counsel F. Lawall, D. Kovsky-Apap (Troutman) and R. Loh, K.            0.8   $ 1,100.00   $        880.00
            Reorganization                                                   McGuinness (Huron) regarding draft objection and declaration prep.
      7     Disclosure Statement / Plan of   Robert Loh           12/12/23   Continue to review draft plan objection and compare to analyses of pre-petition                 0.9   $   950.00   $        855.00
            Reorganization                                                   liabilities, proofs of claim, etc.
      7     Disclosure Statement / Plan of   Timothy Martin       12/14/23   Review of schedule of assumed contracts in connection with limited objection.                   0.5   $ 1,100.00   $        550.00
            Reorganization
      7     Disclosure Statement / Plan of   Timothy Martin       12/14/23   Review of proposed order regarding Debtors' executory contracts.                                0.2   $ 1,100.00   $        220.00
            Reorganization
      7     Disclosure Statement / Plan of   Timothy Martin       12/28/23   Review and comment on Debtors' first amended joint plan.                                        0.2   $ 1,100.00   $        220.00
            Reorganization
     12     Retention and Fee Applications   Robert Loh           12/07/23   Review the Debtors' Omnibus Order re: professional fees.                                        0.3   $ 950.00     $         285.00
     12     Retention and Fee Applications   Robert Loh           12/19/23   Prepare Huron's November 2023 monthly fee application.                                          1.7   $ 950.00     $       1,615.00
     12     Retention and Fee Applications   Laura Marcero        12/20/23   Review Huron's November 2023 monthly fee application.                                           1.4   $ 1,100.00   $       1,540.00
     12     Retention and Fee Applications   Robert Loh           12/27/23   Preliminary preparation of Huron's December 2023 fee invoice.                                   0.5   $ 950.00     $         475.00

                                                                                                                                                                TOTAL      129.5                $    109,405.00
